      Case 2:19-cv-00568-ECM-SMD Document 6 Filed 08/14/19 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

JENNIFER CROMARTIE,                         )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )   CIV. ACT. NO. 2:19-cv-568-ECM
                                            )
JULIA TUTWILER PRISON FOR                   )
WOMEN, et al.,                              )
                                            )
      Defendants.                           )

                                      ORDER

      For good cause, it is

      ORDERED that, pursuant to 28 U.S.C. § 636, this case be and is hereby

REFERRED to the United States Magistrate Judge for all pretrial proceedings and entry of

any orders or recommendations as may be appropriate.

      DONE this 14th day of August, 2019.


                                        /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
